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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION

UNITED STATES OF AMERICA and        )
CONSUMER FINANCIAL PROTECTION )
BUREAU,                             )
                                    )
            Plaintiffs,             )            Civil Action No.: 2:21-cv-2664-SHM/atc
                                    )
            v.                      )
                                    )
TRUSTMARK NATIONAL BANK,            )
                                    )
            Defendant.              )
____________________________________)

  ORDER TERMINATING CONSENT ORDER AND DISMISSING WITH PREJUDICE

       Before the Court is Plaintiffs’ May 20, 2025 unopposed Motion to Terminate Consent Order

and Dismiss With Prejudice (D.E. 28). For good cause shown, the Consent Order dated October 27,

2021 is vacated and the case is dismissed WITH PREJUDICE.

       SO ORDERED this 21st day of May, 2025.



                                                         /s/ Samuel H. Mays, Jr.___________
                                                         SAMUEL H. MAYS, JR.
                                                         UNITED STATES DISTRICT JUDGE
